            Case: 0:17-cv-00012-HRW Doc #: 1-1 Filed: 01/30/17 Page: 1 of 38 - Page ID#: 9
 AOC-E-105         Sum Code: CI
 Rev. 9-14                                                                              Case #: 17-CI-00007
 Commonwealth of Kentucky                                                               Court: CIRCUIT
 Court of Justice Courts.ky.gov                                                         County: LEWIS
 CR 4.02; Cr Official Form 1                      CIVIL SUMMONS


Plantiff, ALMEIDA, JOSEPH VS. GGNSC VANCEBURG, LLC , ET AL, Defendant


    TO: CORPORATION SERVICE COMPANY
            421 WEST MAIN STREET
            FRANKFORT, KY 40601

The Commonwealth of Kentucky to Defendant:
GGNSC CLINICAL SERVICES, LLC

   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
on your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint.

The name(s) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the
document delivered to you with this Summons.



                                                                 /s/ Kathy Hardy, Lewis Circuit Clerk
                                                                 Date: 01 /05/2017




                                                   Proof of Service
   This Summons was:

~ ❑ Served by delivering a true copy and the Complaint (or other initiating document)

      To:

❑ Not Served because:


   Date:                          , 20
                                                                                              Served By


                                                                                                 Title

SummonslD:3876942740525@00000025340,
CIRCUIT: 17-CI-00007 Certified Mail



                                                                                                 eFiled
ALMEIDA, JOSEPH VS. GGNSC VANCEBURG, LLC , ET AL

                                                       Page 1 of 1
Case: 0:17-cv-00012-HRW Doc #: 1-1 Filed: 01/30/17 Page: 2 of 38 - Page ID#: 10
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                                              COMMONWEALTH OF KENTUCKY
                                               LEWIS COUNTY CIRCUIT COURT
                                                     DIVISION
                                                  CIVIL CASE # 1 I 1 —LS6 7

                                                       ELECTRONICALLY FILED

         JOSEPH ALMEIDA, by and through his Guardian,
         MARY ANN ALMEIDA                                                                        PLAINTIFF

         V.

         GGNSC VANCEBURG, LLC
         d/b/a Golden Living Center - Vanceburg
         53 Eastham Street
         Vanceburg, KY 40601

                   Serve: Corporation Service Company
                          421 West Main Street
                          Frankfort, KY 40601


         GPH Vanceburg, LLC
         7160 North Dallas Parkway
         Plano, TX 75024

                   Serve: Corporation Service Company
                          421 West Main Street
                          Frankfort, KY 40601


         GGNSC ADMINISTRATIVE SERVICES, LLC
         7160 North Dallas Parkway
         Plano, TX 75024

                   Serve: Corporation Service Company
                          421 West Main Street
                          Frankfort, KY 40601

         GGNSC CLINICAL SERVICES, LLC
         7160 North Dallas Parkway
         Plano, TX 75024

                   Serve: Corporation Serviee Company
                          421 West Main Street



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                            Frankfort, KY 40601


         GOLDEN GATE NATIONAL SENIOR CARE, LLC
         7160 North Dallas Parkway
         Plano, TX 75024

                   Serve: Corporation Service Company
                          421 West Main Street
                          Frankfort, KY 40601

         GOLDEN GATE ANCILLARY, LLC
         7160 North Dallas Parkway
         Plano, TX 75024

                   Serve: Corporation Service Company
                          421 West Main Street
                          Frankfort, KY 40601

         Joy Dingess, in her capacity as
         Administrator of Golden Living Center - Vanceburg
         3116 Breckenridge Lane
         Louisville, KY 40220

                   Serve: Joy Dingess
                          53 Eastham Street
                           Vanceburg, KY 40601

         and

         John Does 1 through 5, Unknown Defendants                                                   DEFL1vDANTS

                                                                 COMPLAINT

                  COMES NOW Plaintiff, Joseph Almeida, by and through his Guardian, Mary Ann Almeida,

         and for this cause of aetion against Defendants, GGNSC Vanceburg, LLC d/b/a Golden Living

         Center - Vanceburg; GPH Vanceburg, LLC; GGNSC Administrative Services, LLC; GGNSC

         Clinical Services, LLC; Golden Gate National Senior Care, LLC; Golden Gate Ancillary, LLC; Joy

         Dingess, in her capacity as Administrator of Golden Living Center - Vanceburg; and John Does 1

         through 5, Unknown Defendants, states:




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                  1.        Mary Ann Almeida is a citizen and resident of the Commonwealth of Kentucky

        currently residing at 760 McBrayer Road, Lot 79, Clearfield, KY 40313. Mary Ann Almeida is the

        Guardian of her husband, Joseph Almeida, as appointed by Order of the Lawrence District Court,

        Case No. 16-H-00036-001 (See Order attached hereto as Exhibit 1). Joseph Almeida currently                N
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        resides at J.J. Gordon Geriatric Center, 270 East Clayton Lane, Louisa, KY 41230. Accordingly,            ~
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        Mary Ann Almeida brings this action on behalf of Joseph Almeida, pursuant to KRS 387.065, the             o
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        Resident's Rights Statute (KRS 216.515, KRS 216.520) and common law.                                      Y
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                  2.        Upon information and belief, Joseph Almeida was admitted as a resident of GGNSC

        Vanceburg, LLC d/b/a Golden Living Center - Vanceburg located at 53 Eastham Street, Vanceburg,

        Kentucky 40601 on or around May 6, 2016 and remained a resident there, except for periods of

        hospitalization, until on or around May 20, 2016.

                  3.        Defendant GGNSC Vanceburg, LLC d/b/a Golden Living Center - Vanceburg is a

        foreign limited liability company with its princtpal office located at 53 Eastham Street, Vanceburg,

        KY 41179, and is authorized to do business in the Commonwealth of Kentucky. Upon infonmation

        and belief, at times material this action, Defendant GGNSC Vanceburg, LLC d/b/a Golden Living

        Center - Vanceburg was the "licensee" of the nursing facility. Under the laws and regulations

        promulgated and enforced by the Cabinet for Health and Family Services, as licensee of the facility,

        Defendant GGNSC Vanceburg,' LLC d/b/a Golden Living Center - Vanceburg was legally

        responsible for the facility and for ensuring compliance with all laws and regulations related to the

        operation of the facility. The causes of action made the basis of this, suit arise out of such business

        conducted by said Defendant GGNSC Vanceburg, LLC d/b/a Golden Living Center - Vanceburg in
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        the ownership, operation, management, eontrol, licensing and/or services provided for the facility        o
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        during the residency of Joseph Almeida. Defendant GGNSC Vanceburg, LLC d/b/a Golden Living                o
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        Center - Vanceburg may be served as indicated in the above caption.                                       ~


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                 4.         Defendant GPH Vanceburg, LLC is a foreign limited liability company with its

        principal office located at 7160 North Dallas Parkway, Plano, TX 75024, and is authorized to do

        business in the Commonwealth of Kentucky. Upon information and belief, at times material to this

        action, Defendant GPH Vanceburg, LLC owned, operated, managed, controlled, andlor provided              N
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        services to nursing facilities, including Golden Living Center - Vanceburg, Vanceburg, Lewis            0
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        County, Kentucky. The causcs of action made the basis of this suit arise out of such business           0
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        conducted by said Defendant GPH Vanceburg, LLC in the ownership, operation, management,                 ~
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        control, and/or services provided for the facility during the residency of Joseph Almeida. Defendant

        GPH Vanceburg, LLC may be served as indicated in the above caption.

                 5.        Defendant GGNSC Administrative Services, LLC is a foreign limited liability

        company with its principal office located at 7160 North Dallas Parkway, Plano, TX 75024. Upon

        inforrnation and belief, at times material to this action, Defendant GGNSC Administrative Services,

        LLC ovvned, operated, managed, controlled, and/or provided services to nursing facilities, including

        Golden Living Center - Vanceburg, Vanceburg, Lewis County, Kentucky. The causes of action

        made the basis of this suit arise out of such business conducted by said Defendant. GGNSC

        Administrative Services, LLC in the ownership, operation, managernent, control, and/or services

        provided for the facility during the residency of Joseph Almeida. Defendant GGNSC Administrative

        Services, LLC may be served as indicated in the above caption.

                 6.        Defendant GGNSC Clinical Services, LLC is a foreign limited liability company with

        its principal office located at 7160 North Dallas Parkway, Plano, TX 75024. Upon information and

        belief, at times material to this action, Defendant GGNSC Clinical Services, LLC owned, operated,
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        managed, controlled, and/or provided services to nursing facilities, including Golden Living Center -   0
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        Vanceburg, Vanceburg, Lewis County, Kentucky. The causes of action made the basis of this suit          O
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        arise out of such business conducted by said Defendant GGNSC Clinical Services, LI.0 in the

        ownership, operation, management, control, and/or services provided for the facility during the

        residency of Joseph Almeida. Defendant GGNSC Clinical Services, LLC may be served "as

        indicated in the above caption.                                                                             N
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                  7.         Defendant Golden Gate National Senior Care, LLC is a foreign limited tiability         o
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        company with its principal office located at 7160 North Dallas Parkway, Plano, TX 75024. Upon               g
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        information and belief, at times material to this action, Defendant Golden Gate National Senior Care,       ~
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        LLC owned, operated, managed, controlled, and/or provided services to nursing facilities, inctuding

        Golden Living Center - Vanceburg, Vanceburg, Lewis County, Kentucky. The causes of action

        made the basis of this suit arise out of such business conducted by said Defendant Golden Gate

        Nationat Senior Care, LLC in the ownership, operation, managernent, control, and/or services
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        provided for the facility during the residency of Joseph Almeida. Defendant Golden Gate National            0
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        Senior Care, LLC may be served as indicated in the above caption.                                           z
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                  8.         Defendant Golden Gate Ancillary, LLC is a foreign limited liability company with its   W
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        principal office located at 7 160 North Dallas Parkway, Plano, TX 75024. Upon information and               Z
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        belief, at times material to this action, Defendant Golden Gate Ancillary, LLC owned, operated,             ~
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        managed, controlled, and/or provided services to nursing facilities, including Golden Living Center -
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        Vanceburg, Louisville, Jefferson County, Kentucky. The causes of action made the basis of this suit         a

        arise out of such business conducted by said Defendant Golden Gate Ancillary, LLC in the

        ownership, operation, management, control, and/or services provided for the facility during the

        residency of Joseph Almeida. Defendant Golden Gate Ancillary, LLC d/b/a Golden Innovations
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        may be served as indicated in the above caption.                                                            o
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                    9.        Upon information and belief, Defendant Joy Dingess was the Administrator of

   -      Golden Living Center - Vanceburg during the residency of Joseph Almeida. The causes of action

          that make the basis of this suit arise out of Defendant Joy Dingess' administration of the facility

          during the residency of Joseph Almeida. Defendant Joy Dingess may be served as indicated in the           N
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          caption.                                                                                                  ~
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                    10.       John Does 1 through 5, Unknown Defendants are entities and/or persons, either         o
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          providing care and services to Joseph Almeida, or directly or vicariously liable for the injuries of      Y
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          Joseph Almeida. Plaintiff is currently unable to identify these unknown defendants, despite diligent

          efforts, but rnay discover such identities upon further investigation. Said defendants are named

          insofar as their acts and/or omissions were negligent, tortious or otherwise wrongful with respect to

          care, treatment and services to Joseph Almeida during his resideney at Golden Living Center -

          Vanceburg.

                    11.       Whenever the tenn "Nursing Home Defendants" is utilized within this suit, such term

          collectively refers to GGNSC Vanceburg, LLC d/b/a Golden Living Center - Vanceburg; GPH

          Vanceburg, LLC; GGNSC Administrative Services, LLC; GGNSC Clinical Services, LLC; Golden

          Gate National Senior Care, LLC; and Golden Gate Ancillary, LLC.

                    12.       The Nursing Home Defendants controlled the operation, planning, management,

          budget and quality control of GGNSC Vanceburg, LLC d/b/a Golden Living Center - Vanceburg.

          The authority exercised by Nursing Home Defendants over the nursing facility included, but was not

          limited to, control of marketing, human resources management, training, staffing, creation, and

          implementation of all policy and procedure manuals used by nursing facilities in Kentucky, federal
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          and state reimbursement, quality care assessment and compliance, licensure and certification, legal       o
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        services, and financial, tax and accounting control through fiscal policies established by the Nursing

        Home Defendants.

                 13.       Whenever the term "Administrator Defendant" is utilized within this suit, such term

        refers to Joy Dingess.                                                                                          N
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                 14.       Whenever the term "Defendants" is utilized within this suit, such term collectively          0
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        refers to and includes all named Defendants in this lawsuit.                                                    G
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                           Jurisdiction and venue are proper in this Court.                                             ~
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                                                   FACTUAL ALL.EGATIONS

                 16.       Plaintiff incorporates all of the allegations contained in Paragraphs 1-15 as if fully set

        forth herein.
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                 17.       Upon information and belief, Joseph Almeida was looking to Defendants for

        treatment of his total needs for custodial, nursing and medical care and not merely as the situs where

        others not associated with the facility would treat him.

                 18.       At relevant times mentioned herein, Nursing Home Defendants owned, operated,

        managed, controlled and/or provided services for GGNSC Vanceburg, LLC d/b/a Golden Living

        Center - Vanceburg either directly or through a joint enterprise, partnership or the agency of each

        other and/or other diverse subalterns, subsidiaries, govenning bodies, agents, servants or employees

                 19.       Defendants are directly or vicariously liable for any acts and omissions by any person

        or entity, controlled directly or indirectly, including any governing body, officer, partner, employee,

        ostensible or apparent agent, consultant or independent contractor, whether in-house or outside

        individuals, entities, agencies or pools.
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                 20.       Defendants failed to discharge their obligations of care to Joseph Almeida with a            0
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        conscious disregard for his rights and safety. At all times mentioned herein, Defendants, through               0
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        their corporate officers and administrators, had knowledge of, ratified and/or otherwise authorized

        all of the acts and omissions that caused the injuries suffered. by Joseph Almeida; as more fully set

        forth below. Defendants knew that this facility could not provide the minimum standard of care to

        the weak and vulnerable residents of GGNSC Vanceburg, LLC d/b/a Golden Living Center -                          N
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        Vanceburg, including Joseph Almeida.                                                                            a
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                 21.       Due to the wrongful conduct of Defendants, Joseph Almeida suffcred accelerated               o
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        deterioration of his health and physical condition beyond that caused by the normal aging process, as           ~
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        well as, but not limited to, the following injuries:

                 a)        Severe dehydration and volume depletion with acute kidney injury;

                 b)        Hypernatremia;

                 c)         Hypersomality; and                                                            .             ~
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                 d)        other injuries.                                                                              ~
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                 22.        Joseph Almeida also suffered extreme pain and suffering, mental anguish, disability,        Z
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        disfigurement, hospitalizations, degradation, and unnecessary loss of personal dignity, all of which            W
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        were caused by the wrongful conduct of Defendants as alleged herein.                                            Z
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                        CAUSE OF ACT1fON AGAINST NURSING HOME DEFENDANTS                                                m
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                                                                NEGLIGENCE                                              _
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                 23.        Plaintiff incorporates all of the allegations contained in Paragraph 1-22 as if fully set   a

        forth herein.

                 24.        Nursing Home Defendants owed a non-delegable duty to Joseph Almeida to provide

        the custodial care, services and supervision that a reasonably careful nursing home would provide               N
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        under similar circumstances.                                                                                    o
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                  25.       Upon information and belief, Nursing Home Defendants knowingly developed and

        maintained staffing levels at GGNSC Vanceburg, LLC d/b/a Golden Living Center - Vanceburg in

        disregard of patient acuity levels as well as the minimal time to perfon:n the essential functions of

        providing care to Joseph Almeida.

                  26.       Nursing Home Defendants negligently failed to deliver care, services and supervision,

        including, but not limited to, the following acts and omissions:

                  a)        Failure by the members of the goyerning body of the facility to discharge their legal
                            and lawful obligation by:

                            l)        ensuring eompliance with the rules and regulations designed to protect the
                                      health and safety of the residents, such as Joseph Almeida, as promulgated by
                                      the Cabinet for Health and Family Services, Division of Long Term Care;

                            2)        ensuring compliance with the resident care policies for the facility; and,

                            3)        ensuring that appropriate corrective measures were implemented to conect
                                      problems concerning inadequate resident care.

                  b)        Failure to develop, implement and follow policies to assist Joseph Almeida in
                            attaining and maintaining the highest level of physical, mental and psychological
                            well-being;

                 c)         Failure to maintain/provide all records on Joseph Almeida in accordance with
                            accepted professional standards and practices;

                  d)        Failure to provide the minimum number of qualified personnel to rneet the total
                            needs of Joseph Almeida;

                 e)         Failure to provide adequate nursing and other staff that was properly staffed, qualified
                            and trained;

                  f)        Failure to ensure that Joseph Almeida received adequate and proper care;

                  g)        Failure to protect the safety of Joseph Almeida;

                  h)        Failure to monitor or increase the number of nursing personnel at the facility to
                            ensure that Joseph Almeida:

                            1) received timely and accurate care assessments;

                            2) received prescribed treatment and diet; and,


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                           3) received timely intervention due to a significant change in condition;

                 i)        Failure to increase the number of personnel at the facility to ensure that Joseph
                           Almeida received timely and appropriate custodial care, including, but not limited to,
                           supervision and a safe environment;

                 j)        Failure to have in place adequate guidelines, and policies and procedures of the
                           facility and to administer those policies through enforcement of any rules, regulations,
                           by-laws or guidelines;

                 k)        Failure to take reasonable steps to prevent, eliminate and correct deficiencies and
                           problems in resident care at the facility;

                 I)        Failure to provide a safe environment for care, treatment and recovery, and to
                           exercise ordinary care and attention for the safety of Joseph Almeida in proportion to
                           his particular physical and mental ailments, known or discoverable by the exereise of
                           reasonable skill and diligence;

                 m)        Failure to take other necessary and reasonable custodial measures, including timely
                           turning and repositioning of Joseph Almeida, to prevent the onset and/or progression
                           of severe dehydration during the residency;

                 n)        Failure to protect hirri from in volume depletion, dehydration, and infections;

                 o)        Failure to infonn the physician and family of significant changes in condition; and,

                 p)        Failure to administer and secure appropriate medical care.

                 27,       A reasonably careful nursing facility would not have failed to provide the care listed

        above. It was foreseeable that these breaches of ordinary care would result in serious injuries to

        Joseph Almeida. W ith regard to each of the foregoing acts of negligence, Nursing Home Defendants

        acted with oppression, fraud; malice, or were grossly negligent by acting with wanton or reckless

        disregard for the health and safety of Joseph Almeida.

                 28.       Pursuant to KRS 446.070, Plaintiff also alleges Nursing Home Defendants violated

        statutory and regulatory duties of care, the violations of which are actionable a,s negligence per se.
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        Joseph Almeida was injured by the statutory violations ofNursing Home Defendants and was within               0
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        the class of persons for whose benefit the statutes were enacted and who was intended to be                   0
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        protected by these statutes. The negligence per se of Nursing Home Defendants included, but is not

        limited to, violation(s) of the following:

                  a)        Violation(s) of KRS 209.005 et seq. and the regulations promulgated there under, by
                            abuse, neglect and/or exploitation of Joseph Almeida;

                  b)        Violation(s) of the statutory standards and requirements governing licensing and
                            operation of long-term care facilities as set forth by the Cabinet for Health and Family
                            Services, pursuant to provisions of KRS Chapter 216 and the regulations
                            promulgated there under;

                  29.        As a direct and proximate result of such negligence, oppression, fraud, malice, or

        gross negligence, Joseph Almeida suffered the injuries described herein: Plaintiff asserts a claim for

        judgment for all compensatory and punitive damages against Nursing Home Defendants including,

        but not limited to, medical expenses, extreme pain and suffering, mental anguish, degradation,

        hospitalizations, and unnecessary loss of personal dignity, in an amount to be determined by the jury,

        but in excess of the minimum jurisdictional limits of this Court and exceeding that required for

        federal court jurisdiction in diversity of citizenship cases, plus costs and all other relief to which

        Plaintiff is entitled by law.

                                                        MEDICAL NEGLIGENCE

                  30.        Plaintiff incorporates all of the allegations contained in Paragraphs 1-29 as if fully set

        forth herein.

                  31.        Nursing Home Defendants had a duty to provide the standard of professional medical

        care and services of a reasonably competent nursing facility acting under the same and similar

        ctrcumstances.

                  32.        Nursing Home Defendants failed to meet applicable standards of inedical care. The

        medical negligence or malpractice of Nursing Home Defendants included, but was not limited to, the

        following acts and omissions:




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                  a)        The overall failure to ensure that Joseph Almeida received the following:

                            1)        timely and accurate care assessments;

                            2)        prescribed treatment, hydration and diet;

                            3)        necessary supervision; and

                            3)        timely nursing and medical intervention due to significant changes in
                                      condition.

                  b)        Failure to provide sufficient numbers of qualified personnel, including nurses,
                            licensed practical nurses, certified nurse assistants and medication aides to meet the
                            total needs of Joseph Almeida throughout his residency and provide a safe
                            environment;

                 c)         Failure to provide and implement an adequate nursing care plan based on the needs
                            of Joseph Almeida;

                 d)         Failure to provide care, treatment, diet, monitoring, assistance and medication in
                            accordance with physician's orders;
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                 e)         Failure to adequately and appropriately rnonitor Joseph Almeida and recognize            N
                            significant changes in his health status, and to timely notify his physician of          W
                            significant changes in his health status;                                                ~
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                  f)        Failure to ensure Joseph Almeida was not deprived of the services necessary to           ~
                            maintain his health and welfare;                                                         mW
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                 g)         Failure to inform the physician and family of significant changes in condition;          0
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                 h)         Failure to provide proper supervision, treatment, assessment and monitoring of            _
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                            Joseph Almeida in order to prevent dehydration, volume depletion and weight loss;         ~
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                 i)         Failure to administer and secure appropriate medical care following a signiftcant        'A
                            change in condition and/or injury;

                 33.        lt was foreseeable that the breaches of care listed above would result in serious

        injuries to Joseph Almeida. A reasonably competent nursing facility acting under the.same or similar

        circumstances would not have failed to provide the care listed above.




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                  34.       With regard to each of the foregoing acts of professional or medical negligence,

        Nursing Home Defendants acted with oppression, fraud, malice, or were grossly negligent by acting

        with wanton or reckless disregard for the health and safety of Joseph Almeida.

                  35.       As a direct and proximate result of such negligence, oppression, fraud, malice, or

        gross negligenee, Joseph Almeida suffered the injuries described herein, Plaintiff asserts a claim for

        judgment for all compensatory and punitive damages against Nursing Home Defcndants including,

        but not limited to, medical expenses, extreme pain and suffering, mental anguish, disfigurement,

        hospitalizations, degradation, and unnecessary loss of personal dignity, in an amount to be

        determined by the jury, but in excess of the minimum jurisdictional limits of this Court plus costs.

        and all other relief to which Plaintiff is entitled by law.

                                                    CORPORATE NEGLIGENCE

                  36.       Plaintiff incorporates all of the allegations contained in Paragraphs 1— 35 as if fully

        set forth herein.

                  37.       Upon information and belief, Joseph Almeida was looking to Nursing Home

        Defendants' facility for treatment of his physical ailments and not merely as the situs where others

        not associated with the facility would treat him for his problems. There is a presumption that the

        treatment Joseph Almeida received was being rendered through employees of Nursing Home

        Defendants and that any negligence associated with that treatment would render Nursing Home

        Defendants responsible. Nursing Home Defendants, or persons or entities under their control, or to

        the extent Nursing Home Defendants were vicariously liable through the ostensible or apparent

        agency of others, owed a non-delegable duty to residents, including Joseph Almeida, to use the

        degree and skill of care which is expected of reasonably competent medical practitioners acting in

        the same or similar circumstances.




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                 38.       Nursing 14ome Defendants owed a non-delegable duty to a.ssist Joseph Almeida in

        attaining and maintaining the highest level of physical, mental and psychoiogical well-being.

                 39.       Nursing Home Defendants owed a duty to Joseph Almeida to maintain their facility,

        including providing and maintaining medical equipment and supplies, and hiring, supervising and

        retaining nurses and other staff employees to meets the needs of residents, including Joseph

        Alrneida, and are directly liable for the failure to exercise reasonable care in hiring, supervising,

        training and retaining sufficient numbers of qualified nurses and other staff employees and

        earegivers during the residency of Joseph Almeida. Said failures placed the residents of the facility,

        including Joseph Almeida, at risk of harm, and a result, Nursing Home Defendants are directly liable

        for injuries suffered by Joseph Almeida as a result of these failures to exercise reasonable care.

                 40:       Nursing Home Defendants owed a duty to Joseph Almeida to have in place

        procedures and protocols that properly care for residents and to administer these policies through

        enforcement of any rules, regulations, by-laws or guidelines, which were adopted by Nursing Home

        Defendants to ensure smoothly run facilities and adequate resident care.

                 41.       Nursing Home Defendants owed a duty to Joseph Almeida to provide a safe

        environment, treatment and recovery, and to exercise ordinary care and attention for the safety of

        residents in proportion to the physical and mental ailments of eaeh particular resident, known or

        discoverable by the exercise of reasonable skill and diligence. The duty of reasonable care and

        attention extended to safeguarding Joseph Almeida from danger due to his inability to care for

        himself. Nursing Home Defendants had a duty to protect Joseph Almeida from any danger which

        the surroundings would indicate might befall him in view of any peculiar trait exhibited by him or

        which his condition or aberration would suggest as likely to happen.




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                      42.        With regard to each of the foregoing acts of negligence, Nursing Home Defendants

            acted with oppression, fraud, malice, or were grossly negligent by acting with wanton or reckless

            disregard for the health and safety of Joseph Almeida.

                      43.        As a direct and proximate result of such negligence, oppression, fraud, malice, or          M
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            gross negligence, Joseph Almeida suffered the injuries described herein. Plaintiffasserts a claim for            Q
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            judgment for all compensatory and punitive damages against Nursing Home Defendants including,                    g
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            but not limited to, medical expenses, extreme pain and suffering, mental anguish, degradation, and               ~
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            unnecessary loss of personal dignity, in an amount to be determined by the jury, but in excess of the

            minimum jurisdictional limits of the Court and exceeding that required for federal court jurisdiction

            in diversity of citizenship cases, plus costs and all other relief to which Plaintiff is entitied by law.

                                VIOLATIONS OF LONG TERM CARE RESIDENT'S RIGHTS

                   ' 44.         Plaintiff incorporates all of the allegations contained in Paragraphs 1- 43 as if fully

            set forth herein.

                      45.        Nursing Home Defendants violated statutory duties owed to Joseph Almeida as a

            resident of a long term care facility, Kentucky Revised Statutes 216.510 et seq. These statutory

            duties were non-delegable.

                      46.        The violations of the resident's rights of Joseph Almeida include, but are not limited

            to, the following:

                      a)         Violation of the right to be free from mental and physical abuse and neglect;

                      b)         Violation of the right to be treated with consideration, respect, and full recognition of
                                 his dignity and individuality, including privacy in treatment and in care for his
                                 personal needs;                                                                             N
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                      c)        Violation of the right to have a responsible party or family member or his guardian to       0
                                be informed of the resident's medical condition unless medically contraindicated and         ~O
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                                documented by a physician in the resident's medical record;                                  o
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                  d)         Violation of the right to have a responsible party or family member or his guardian
                             notified immediately ofany accident, sudden iliness, disease, unexplained absence, or
                             anything unusual involving the resident;

                  e)         Violation of the right to have an adequate and appropriate resident care plan
                           . developed, implemented and updated to meet his needs; and

                   f)        Violation of the statutory standards and requirements governing licensing and
                             operation of long-term care facilities as set forth by the Cabinet for I-Iealth and Family
                             Services, pursuant to provisions of KRS Chapter 216 and the regulations promulgated
                             there under.
                                                                                   l
                  47.        As a result of the aforementioned violations of the Resident's Rights Statutes by

         Nursing Home Defendants, pursuant to KRS 216-515(26), Plaintiff is entitled to .recover actual

         damages in an amount to be determined by the jury, but in excess of the minimum jurisdictional

         limits of this Court and exceeding that required for federal court jurisdiction in diversity of

         citizenship cases, as well as costs and attorney's fees.

                  48. . With regard to the aforementioned violations of the Resident's Rights Act, Nursing

         Home Defendants acted with oppression, fraud, malice, or were grossly negligent by acting with

         wanton and reckless disregard for the rights of Joseph Almeida and, pursuant to KRS 216.515(26),

         Plaintiff is entitled to punitive damages from Nursing Home Defendants in an amount to be

         determined by the jury, but in excess of the minimum jurisdictional limits of this Court and

         exceeding that required for federal court jurisdiction in diversiry ofcitizenship cases, as well as costs

         and attomey's fees.




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                                  CAUSE OF ACTION AGAINST ADMINISTRATOR DEFENDANT

                                                              FACTUAL ALLEGATIONS

                           49.        Plaintiff incorporates al l of the allegations contained in Paragraph 1- 48 as if fully set

              forth herein.

                           50.       As the administrator of GGNSC Vanceburg, LLC d/b/a Golden Living Center -

                  Vanceburg , Administrator Defendant Joy Dingess was required to be licensed by the

 ;                Conunonwealth of Kentucky. Administrator Defendant owed ordinary duties of care to Joseph

°.                Almeida , as well as professional duties and statutory duties owed to residents by licensed, nursing

                  home adrninistrators in Kentucky, pursuant to the Nursing Home Administrators Licensure Act of

                  1970, codified as Kentucky Revised Statutes sections 216A.010 et seq.

;                           51.      As the alleged holder of a nursing home administrator's license for Golden Living
~
 ~                Center - Vanceburg, Administrator Defendant was legally and individually responsible for the
f
  j               operation of the facility and the welfare of its residents pursuant to Chapter 216A of the Kentucky

!                 Revised Statutes and Title 201, Chapter 6 of the Kentucky Administrative Regulations.

~.                          52       Administrator Defendant was also responsible for the total management of Golden

                  Living Center.- Vanceburg pursuant to federal law.

                            53.       Administrator Defendant's management responsibilities included ensuring that

                  Golden Living Center - Vanceburg operated and provided services in compliance with all applicable

                  federal, state, and local laws, regulations, and codes, and within accepted professional standards and

                  principles.

                           54.       Administrator Defendant was responsible for ensuring that the facility complied with

                  state and federal regulations related to nursing facilities. Administrator Defendant had duties to

                  administrate the facility in a manner that enabled it to use resources effectively and efficiently to




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        attain or maintain the highest practicable, physical, mental and psychological well-being of each

        resident. The nursing facility, under the leadership of its administrator, is also required to operate

        and provide services in compliance with all applicable federal, state and local laws, regulations and

        codes and with accepted professional standards and principles that apply to professionals providing

        services in such a facility. Administrator Defendant breached his duties of care to Joseph Almeida by

        failing to meet these requirements.

                                                                NEGLIGENCE

                  55.       Plaintiff incorporates all of the allegations contained in Paragraph 1-54 as if fully set

        forth herein.

                  56.       As the administrator of Golden Living Center - Vanceburg, Administrator Defendant

        owed a duty to the residents of Golden Living Center - Vanceburg, including Joseph Almeida, to

        provide services as a reasonable administrator within accepted standards for nursing home

        administrators.

                  57.       Administrator Defendant breached his duties owed to the residents of Golden Living

        Center - Vanceburg including Joseph Almeida, during her tenure as administrator by failing to

        supervise nurses and nurses' aides and failing to hire sufficient nurses and nurses' aides and, as such,

        the nurses and nurses' aides were unable to provide Joseph Almeida the care he required. The

        negligence of Administrator includes, but is not limited to, the following acts and omissions:

                  a)        Failure to monitor or provide the number of qualified nursing personnel at the facility
                            to ensure that Joseph Almeida:

                            1)        received timely and accurate care assessments;

                            2)        received prescribed treatment, medication, and diet;

                            3)        received timely custodial, nursing and medical intervention due to a
                                      significant change in condition; and




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                            4)        was protected from injuries by the correct use of ordered and reasonable
                                      safety measures.

                  b)        Failure to adequately screen; evaluate, and test for competence in selecting personnel
                            to work at the facility;

                  c)        Failure to ensure that Joseph Almeida was provided with basic and necessary care and
                            supervision;

                  d)        Failure to ensure that Joseph Almeida received care, treatment, and medication as
                            prescribed or in accordance with physician's orders;

                  e)        Failure to ensure that Joseph Almeida attained and maintained his highest level of
                            physical, mental, and psychosocial well-being;

                  t)        Failure to ensure that Joseph Almeida was treated with the dignity and respect that all
                            nursing home residents are entitled to receive;

                  g)        Failure to provide a safe environment for Joseph Almeida;

                  h)        Failure to take reasonable steps to prevent, eliminate and conrect deficiencies and
                            problems in resident care at the facility;

                  i)        Failure to discipline or terminate employees at the facility assigned to Joseph
                            Almeida that were known to be careless, incompetent, and unwilling to comply with
                            the policy and procedures of the facility and the rules and regulations promulgated by
                            the Cabinet for Health and Family Services;

                  j)        Failure to adopt adequate guidelines, policies, and procedures for:

                            1)        investigating the relevant facts, underlying deficiencies, or licensure violations
                                      or penalties found to exist at the facility by the Cabinet for Health and Family
                                      Services or any other authority;

                            2)        determining the cause of any such deficiencies, violations, or perialties;

                            3)        establishing the method and means for correcting deficiencies or licensure
                                      violations or penalties found to exist at the facility;

                            4)        determining whether the facility had sufficient numbers of personnel to meet
                                      the total needs of Joseph Almeida; and,
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                            5)        documenting, maintaining files, investigating and responding to any complaint        0
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                                      regarding the quality of resident care, or misconduct by employees at the            0
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                                      facility, regardless of whether such complaint derived from a resident of said       0
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                                      facility, an employee of the facility, or any interested person.                     0
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                  k)         Failure to maintain all records on Joseph Almeida in accordance with accepted
                             professional standards and practice that were complete, accurately documented,
                             readily accessible, and systematically organized with respect to his diagnosis,
                             treatment, and appropriate care plans of care and treatment.

                  1)         Failure to inform.the physician and family of significant changes in condition.

                  m)         Failure to increase the number, of personnel at the facility to ensure that Randall
                             Wamer received timely and appropriate custodial care, including, but not limited to,
                             supervision.

                  n)         Failure to ensure that staff provided proper supervision, treatment, assessment and
                             monitoring of Joseph Almeida in order to prevent severe dehydration, volume
                             depletion, and infections.

                  o)         Faiiure to ensure that staff administered and secured appropriate medical care
                             as Joseph Almeida's condition deteriorated.

                  58.        A reasonably careful nursing home administrator would have foreseen that the failure

        to provide the ordinary care listed above would result in serious injuries to Joseph Almeida. Each of

        the foregoing acts of negligence on the part of the Administrator Defendant was accompanied by

        such wanton or reckless disregard for the health and safety of Joseph Almeida as to constitute gross

        negligence.

                  59.        Additionally, Administrator Defendant failed to operate, manage or administer

        Golden Living Center - Vanceburg in compliance with federal, state, and local laws, regulations; and

        codes intended to protect nursing home residents, including, but not limited to:

                  a)         Failure to ensure compliance with rules and regulations of the Cabinet for Health and
                             Family Services, pursuant to Chapters 216, 2I6B and 13A of the Kentucky Revised
                             Statutes and the administrative regulations promulgated there under, and the federal
                             minimum standards imposed by the United States Department of Health and Human
                             Services, 42 C.F.R. sections 405.301 et seq.;

                  b)         Failure to ensure compliance with laws and regulations promulgated by the Cabinet
                             for Health and Family Services to provide the minimum number of staffnecessary to
                             assist Joseph Almeida with his needs;




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                      c)        Failure to ensure compliance with law and regulations of the Board of Licensure for
                                Nursing Home Administrators pursuant to the Nursing Home Administrators
                                Licensure Aet of 1970, Kentucky Revised Statutes sections 216A.010 et seq.;

                      d)        Failure to provide the necessary care and services to attain or maintain the highest
                                practicable,.physical, mental, and psychosocial well-being of Joseph Almeida, and in
                                accordance with the comprehensive assessment and plan of care created at the            M
                                facility;                                                                               o
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                      e)        Failure to provide sufficient nursing staffand nursing personnel to provide adequate    N
                                and appropriate nursing care to Joseph Almeida in accordance with the resident care     o
                                plan generated at the facility;                                                         ~
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                      f)        Failure to administer the facility in a manner that enabled it to use its resources     a
                                effectively and efficiently to attain or maintain the highest practicable physieal,
                                mental and psychosocial well-being of Joseph Almeida.

                      g)        Failure to ensure a nursing care plan based on Joseph Almeida's problems and needs
                                was established which contained measurable objectives and time tables to meet his
                                medical, nursing, mental, and psychosocial needs as identified in his comprehensive
                                assessment when Joseph Almeida's needs changed; and

                      h)        Failure to notify Joseph Almeida's family and physician of a need to alter his
                                treatment significantly.

                      60.       Joseph Almeida was member of a class intended to be protected by the above laws

            and regulations. The injuries alleged in Paragraph 21 resulted from events the laws and regulations

            were designed to prevent.

                      61.       It was foreseeable that these breaches of statutory duties would result in serious-

            injuries to Joseph Almeida. Each of the foregoing acts of negligence              per se   on the part of

            Administrator Defendant was accompanied by such wanton or reckless disregard for the health and

            safety of Joseph Almeida as to constitute gross negligence.

                      62.       As a direct and proxirnate result of such negligent, grossly negligent, wanton, or

            reckless conduct, Joseph Almeida suffered the injuries described in Paragraph 21 and Plaintiff              o
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            asserts a claim for judgment for all compensatory and punitive damages against Administrator                °
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            Defendant including, but not limited to, medical expenses, extreme pain and suffering, mental               ~~
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            anguish, disfigurement, hospitalizations, degradation, and unnecessary loss of personal dignity, in an

            amount to be determined by the jury, but in excess of the minimum jurisdictional limits of this Court

            and exceeding that required for federal court jurisdiction in diversity of citizenship cases, plus costs

            and all other relief to which Plaintiff is entitled by law.

                                      CAUSES OF ACTION AGAINST ALL DEFENDANTS

                                                                     DAMAGES

                      63.       Plaintiff incorporates all of the allegations contained in Paragraphs 1-62 as if fully set

            forth herein.

                      64.       As a direct and proximate resuit of the negligence of all Defendants as set out above,

            Joseph Almeida suffered injuries including, but not limited to, those listed herein. As a result, Joseph

            Almeida incurred significant medical expenses, and suffered embarrassment and physical

            impainnent.

                      65.       Plaintiff seeks punitive and compensatory damages against all Defendants in an

            amount to be determined by the jury, plus costs and all other relief to which Plaintiff is entitled by

            law.

                                                            REOUEST FOR RELIEF

                      WHEREFORE, Plaintiff, Joseph Almeida, by and through his Guardian, Mary Ann Almeida,

            prays for judgment against GGNSC Vanceburg, LLC d/b/a Golden Living Center - Vanceburg; GPH

            Vanceburg, LLC; GGNSC Administrative Services, LLC; GGNSC Clinical Services, LLC; Golden

            Gate National Senior Care, LLC; Golden Gate Ancillary, LLC; Joy Dingess, in her capacity as

            Administrator of Golden Living Center - Vanceburg; and John Does 1 through 5, Unknown

            Defendants, in an amount to be determined from the evidence, the costs herein expended, and all

            other relief to which Plaintiff is entitled, including TRIAL BY JURY.




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                                                             Respectfully Submitted,

                                                                    GARCIA, ARTIGLIF.RF & MEDBY


                                                                    /s/ M. Brandon Faulkner
                                                                    Stephen M. Garcia                        N
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                                                                    Perry L. Greer, III                      0
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                                                                    Telephone:(502) 584-3805                 d
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                                                                            Facsimile:(502) 584-3811         V
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                                                                            Attorneys for Plaintiff          a




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       Commonwealth of Kentucky                                                                       Court
       Court of Justice www,eourre,ky.gov                ORDER OF APtxotNTllREt+fT                    County
       KRS 387.590; 30A 145                                       OF GUARDIAN
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                              PETITIONER.                                 )                          ALL COUNSEZ OF RECORD                   ;
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             al-,-;amual raport ot tNe pafsomtstatus and cars .. ot your ward. KRS 387.670.
             ~rAn inventory of your ward's property within 80 days of this appointment. KFtS 387,710(1).

             QrA report and iinancial account of the personat sf8tua and flnencial condifbn of your werd bientaity withln 120 days
                      r the anniversary ddte of appointment. KRS 387.710(2).

                   Upon terroinatfon of this appointment, you shatl forthwith sutxnit a final repoR in aceordance wtth KRS 387.670(4)
                  and 387.710(3):

             RIGHT TO VO E             one): Purrsuant to the Oisability Judgment entered of recorb in this action, the respondent:
 4           Q SHALL           SHALL N07 retain ihe right t0 vote.
I            If this order is for LIMITED GUARDIAIVSHIP, the specificlegal rights towhich the ward is legally deprived aretherights to:
      [] dispose of property, Qexecute instruments, Q enter into contractual refaiionship, Q determinetivingarrangements,
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      Q consgrrt to medical procedures, [] obtain a motorvehicle operator's lic ense and [] other                                                  O
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                                              If one is designated, the standby guardian is:

                                  Name:

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                                              There being no just cause for delay, thts +s a final and appealable order.                                                      ~
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                                       Guardian I Conservator                                                                                                        o
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    KRS 387.590; 30A.145                                      JUD3Mt:Xt

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         Dite of lith'/ Sociat Security tVumber (not required)
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          The Respondent, having been duty examined, represented by counsel and ❑ present dnot present In courl before a
    jury, which n3tumed a verdict of:

           ❑     Not disabted in managing his/her ❑ pensonal aRairs or ❑ financial resources.
           ❑         ally disabled in managing his/her O personal aftairs ❑ Tinancial resources. ,.,,~~
                     Ily disabted in managing hisJher     3
                                                          personal atTair~a ❑ financfal resources Id both personal affairs and
             . flnanciat resources.
           IT IS MEREBY ORDERED that the Respondent:
           ❑     Is not disabled as derined In KRS 387,
           ❑     Is partially disabled in managing his/her ❑ personaf affairs ❑ 8nancial resources as defined in KRS 387 and a
           ~~ted guardian ❑ tirnited orynrtseivattu shatt tie appointed.
           Id' ~
               Is  abted.~ managing hiiaRterDpefsonat affairs ❑financial resources as define~
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                 t~~ both p~      atfairs an0 finant iet fesa.uoss ss det',ned in KRS Chapter 387 andQa g
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                 shall be appointed.                                                                                                   d
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           THE COURT FURTHER ORDERS, pursuanl to KRS 387.580(3)(c) and 387.590(10), regarding the right lo vote (check one):           ~
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           -Z1       right to vote SHALL be retained.                                                                                  ~
                 The right t~o vole SHALL NOT be retained, Fnding(s)                       ►~. ~'rw~,~          a^~ °Q                 d
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                 box is cheCked, mail certified copy to State Board of Elections, 0 Wa4nul Street. FWYMM, Kentucky
           There being no~just;ra `se fo~tay, this is a final and appealable or

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   ~~—                      Date                                                                 Judge
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             Fad+ity where or person with whom Respondent resides                                                                      a



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                                            COMMONWEALTH OF KENTUCKY
                                             LEWIS COUNTY CIRCUIT COURT
                                                   DIVISION
                                                CIVIL CASE #

                                                    ELECTRONICALLY FILED

        JOSEPH ALMEIDA, by and through his Guardian,
        MARY ANN ALMEIDA                                                                                 PLAINTIFF

        V.                          NOTICE OF COMPLIANCE WITH KRS 411.188

        GGNSC VANCEBURG, LLC
        d/b/a Golden Living Center - Vanceburg
        53 Eastham Street
        Vanceburg, KY 40601

                  Serve: Corporation Service Company
                         421 West Main Street
                         Frankfort, KY 40601

        GPH Vanceburg, LLC
        7160 North Dallas Parkway
        Plano, TX 75024

                  Serve: Corporation Service Company
                         421 West Main Street
                         Frankfort, KY 40601

        GGNSC ADMINISTRATIVE SERVICES, LLC
        7160 North Dallas Parkway
        Plano, TX 75024

                  Serve: Corporation Service Company
                         421 West Main Street
                         Frankfort, KY 40601

        GGNSC CLINICAL SERVICES, LLC
        7160 North Dallas Parkway
        Plano, TX 75024

                 Serve: Corporation Service Company
                        421 West Main Street
                        Frankfort, KY 40601




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            GOLDEN GATE NATIONAL SENIOR CARE, LLC
            7160 North Dallas Parkway
            Plano, TX 75024

                      Serve: Corporation Service Company
                             421 West Main Street
                             Frankfort, KY 40601

            GOLDEN GATE ANCILLARY, LLC
            7160 North Dallas Parkway
            Plano, TX 75024

                      Serve: Corporation Service Company
                             421 West Main Street
                             Frankfort, KY 40601

            Joy Dingess, in her capacity as
            Administrator of Golden Living Center - Vanceburg
            3116 Breckenridge Lane
            Louisville, KY 40220

                      Serve: Joy Dingess
                             53 Eastham Street
                             Vanceburg, KY 40601

            and

            John Does 1 through 5, Unknown Defendants                                                       DEFENDANTS


                                                                 *** *** *** ***

                      Plaintiff hereby gives notice to all interested parties of his compliance with KRS 411.188

            by giving the required notification to the potential lienholders on the list attached hereto as

            "Exhibit A".




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                                                         Respectfully Submitted,

                                                                  GARCIA, ARTIGLIERE & MEDBY

                                                                  /s/ M. Brandon Faulkner
                                                                  Stephen M. Garcia
                                                                  M. Brandon Faulkner
                                                                  Perry L. Greer, III
                                                                  444 East Main Street, Suite 108
                                                                  Lexington, Kentucky 40507
                                                                  Telephone:(502) 584-3805
                                                                  Facsimile:(502) 584-3811
                                                                          Attorneys for Plaintiff




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                                                                "EXHIBIT A"

                                                   POTENTIAL LIEN HOLDERS




             1. MEDICAID

             2. MEDICARE




                                                                                                               "I




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    '       94 Second Street
~           Vanceburg, KY 41179-0070




            CORPORATION SERVICE COMPANY
            421 WEST MAIN STREET
            FRANKFORT, KY 40601




                                                KCOJ eFiling Cover Sheet


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